5/4/22, 5:15 PM                                      Gmail - Newby, et al., v. CoreCivic of Tennessee, LLC, et al, - No. 3:22-cv-00093



                                                                                                      Daniel Horwitz <daniel.a.horwitz@gmail.com>



  Newby, et al., v. CoreCivic of Tennessee, LLC, et al, - No. 3:22-cv-00093
  Nicole Vandewalker <nicolev@bsjfirm.com>                                                    Wed, May 4, 2022 at 4:49 PM
  To: "daniel@horwitz.law" <daniel@horwitz.law>, "Erin.Polly@klgates.com" <Erin.Polly@klgates.com>
  Cc: Tricia Herzfeld <triciah@bsjfirm.com>, Amber Szuch <ambers@bsjfirm.com>

    Counsel,

    Per the attached subpoena, we are providing all non-confidential discovery documents produced by
    CoreCivic in Case No. 3:19-cv-00486, Pleasant-Bey v. State of Tennessee, et al via the sharefile link below.
    Please let me know if you have any issues downloading the documents.

    https://bsjfirm.sharefile.com/d-sf7366dffeaaf4a3e8cd142ae1e8ab38d

    Thanks,
    Nicole
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